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                                                            U.S. 013TRCT COURT
                                                               SAVANNAH DIV.
            IN THE UNITED STATES DISTRICT COURT FORclJU.2O
               THE SOUTHERN DISTRICT OF GEORGIA
                                                                       PM 2:15
                       SAVANNAH DIVISION

UNITED STATES OF AMERICA



JARROD JEREMIAH MINCEY,                       CASE NO. CR407-288-2

     Defendant.


                             ORDER

     Before the Court is the Defendant's Motion for Post-

Conviction Relief Pursuant to Johnson. (Doc. 69.) In this

motion, Defendant argues that he is entitled to post-

conviction relief on the basis that Johnson v. United States,

    U.S. , 135 S. Ct. 2551 (2015), is retroactive on

collateral review. Defendant's request is cognizable pursuant

to a 28 U.S.C. § 2255 motion. However, Defendant has

specifically requested that the Court not construe his motion

under § 2255. Because there is no other conceivable avenue for

relief, Defendant's motion is DENIED.'
                                M   7
           SO ORDERED this              day of June 2016.



                                    WILLIAM T. MOORE, JR. V
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA

  Even if Defendant had requested relief under § 2255, his
claim would fail. Defendant did not receive an enhanced
penalty under either the Armed Career Criminal Act or the
advisory sentencing guidelines. Accordingly, Johnson is
inapplicable.
